
Nova Chiropractic Services, P.C., as Assignee of Lucian Barker, Respondent,
againstGEICO General Insurance Company, Appellant.




Law Office of Goldstein &amp; Flecker (Lawrence J. Chanice of counsel), for appellant.
Law Offices of Emilia I. Rutigliano, P.C., for respondent (no brief filed).

Appeal from a judgment of the Civil Court of the City of New York, Kings County (Robin Kelly Sheares, J.), entered February 8, 2016. The judgment, after a nonjury trial, awarded plaintiff the principal sum of $873.96.




ORDERED that the judgment is reversed, with $30 costs, and the matter is remitted to the Civil Court for a new trial.
At a nonjury trial of this action by a provider to recover assigned first-party no-fault benefits, the sole issue was the medical necessity of the services in question. The Civil Court precluded the testimony of defendant's expert witness and granted plaintiff's motion for a directed verdict. Defendant appeals from the judgment that was subsequently entered in favor of plaintiff in the principal sum of $873.96.
For the reasons stated in Nova Chiropractic Servs., P.C., as Assignee of Miguel A. Vizcaino v GEICO Gen. Ins. Co. (__ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2016-1054 K C], decided herewith), the judgment is reversed and the matter is remitted to the Civil Court for a new trial.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: November 23, 2018










